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The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 10, 2025
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                    §
      In re:                                                            Chapter 11
                                                                    §
                                                                    §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                    §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.            §
                                                                    §


         ORDER DENYING EMERGENCY MOTION AND REQUEST FOR EXPEDITED
           HEARING FILED BY DUGABOY INVESTMENT TRUST ON JUNE 9, 2025
                                            [DE ## 4227 & 4228]
               On May 8, 2025, the Reorganized Debtor and Highland Claimant Trust filed a Motion for

     an Order Further Extending Duration of Trusts (“Motion to Extend Trust Duration’) [DE #

     4213]—seeking an extension of the life of the trusts created pursuant to the Reorganized Debtor’s

     confirmed plan. The confirmed plan went effective August 2021. The trusts are currently set to

     terminate on August 11, 2025. The movants are seeking a one-year extension on the Trusts’

     duration, due to still-unfinished administration required of the trusts.




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       On May 29, 2025, Dugaboy Investment Trust (“Dugaboy”) filed an Objection [DE # 4223]

to the Motion to Extend Trust Duration. Dugaboy’s Objection was filed by the Stinson LLP law

firm which has represented Dugaboy and numerous other entities affiliated with James Dondero

(“Dondero”), including Dondero, for several years in the above-referenced case and related

adversary proceedings.

       In between these two filings—on May 19, 2025—the Reorganized Debtor and Highland

Claimant Trust filed a Motion pursuant to Bankruptcy Rule 9019 (“Settlement Motion”), seeking

approval of a settlement with what they refer to as the “HMIT Entities” (i.e., Hunter Mountain

Investment Trust, and related entities). DE # 4216. Notably, the Objection filed by Dugaboy on

May 29, 2025 (to the extension of the duration of the trusts) makes a reference to the Settlement

Motion in paragraph 9 of the Objection. Both the Motion to Extend Trust Duration and the

Settlement Motion are set for hearing on June 25, 2025.

       Now, on June 9, 2025, Dugaboy—through different counsel (Hunton Andrews Kurth, LLP

(“HAK”)—has filed an Emergency Motion for an Order Extending Time to Respond to the

Settlement Motion (“Dugaboy Emergency Motion”). DE # 4227. HAK, during the Chapter 11

case, was special counsel to the Debtor-in-Possession Highland. DE # 604. In its employment

application, which was approved by this court [DE # 763], HAK disclosed that it was paid

$790,962.49 by Highland in the year before the bankruptcy, had a prepetition unpaid, unsecured

claim against the Debtor of $895,200.01, and HAK was ultimately awarded $1,147,059.42 in final

fees during the case. DE ## 2872 & 3046. In any event, the Dugaboy Emergency Motion states

that “Counsel was formally retained on June 6, 2025 to represent Dugaboy in the above-captioned

matter. Given the recent engagement, counsel requires additional time to review the motion

pending before the court and prepare a meaningful and informed response to the 9019 Motion,


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which was filed on May 19, 2025.” DE # 4227, at para. 1. The Dugaboy Emergency Motion was

filed at 4:23 pm on the deadline for responses to the Settlement Motion. It sought a two-week

extension of the response deadline and sought an emergency hearing apparently on the afternoon

of June 9, 2025. DE # 4228. Assuming an emergency hearing was warranted, the court was

unavailable for a hearing because of a family medical emergency.

       Dugaboy, through HAK, filed a “Preliminary Objection” to the Settlement Motion two

hours later, on June 9, 2025 at 6:25 pm. [DE # 4230]. The court initially assumed that this mooted

the Dugaboy Emergency Motion. But on close reading, the Preliminary Objection states at

paragraph 17, that “In the event the Court grants Dugaboy’s motion to extend response deadline

to the Settlement Motion, Dugaboy reserves its right to supplement this Objection.”

       The Reorganized Debtor and Claimant Trust have objected to the Dugaboy Emergency

Motion, pointing out that Dugaboy has never been without counsel in this matter (Stinson LLP has

not withdrawn). Moreover, they point out additional possible conflicts of HAK, besides those

which have been observed and mentioned by the court herein.              Maybe HAK’s extensive

representation of the Debtor-in-Possession during and before its Chapter 11 case is not a problem.

But it raises eyebrows, to say the least, and may require explanation.

       Accordingly, this court will rule on the Dugaboy Emergency Motion as follows:

       (a) the Dugaboy Emergency Motion, and accompanying request for an emergency hearing,

are denied;

       (b) Dugaboy has shown no good cause for an extension of time to respond to the Settlement

Motion, when it has had counsel all along in this bankruptcy case that has been kept well-apprised

of case matters;


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       (c) The court will only allow supplemental pleadings by Dugaboy relating to the Settlement

Motion to the extent HAK wishes to address its possible conflicts of interest relating to the

Settlement Motion.

                                 # # # END OF ORDER # # #




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